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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 08-61401-CIV-ZLOCH


  JOHN DALY ENTERPRISES, LLC,
  and JOHN DALY,

              Plaintiffs,
                                                      O R D E R
  vs.

  HIPPO GOLF COMPANY, INC.,

              Defendant.
                                       /

        THIS MATTER is before the Court upon Plaintiffs’ Motion For

  Partial Summary Judgment (DE 21). The Court has carefully reviewed

  said Motion and the entire court file and is otherwise fully

  advised in the premises.

        Plaintiffs filed this diversity action seeking redress for

  Defendant’s     breach    of   contract   and     infringement    of     their

  intellectual property rights protected by federal and state law.

  The instant Motion seeks summary judgment on four of the six Counts

  in the Complaint (DE 1).         They are: Count I1 (infringement of

  federally    registered    marks),   Count   IV   (violation     of    Florida

  Statutes § 540.08), Count V (breach of contract), and Count VI

  (alter ego liability). For the reasons expressed more fully below,

  the Court finds that the instant Motion should be granted as to

  liability on Counts I, IV, and V, and denied as to Count IV and


        1
         Count I is erroneously referred to as “Count V” in both
  Plaintiffs’ Motion (DE 21, p. 3) and Statement Of Undisputed Facts
  (DE 22, p. 1).
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  damages as to Counts I, IV, and V.

                                    I. Background

        Plaintiff John Daly is a professional golfer and the principal

  of Plaintiff John Daly Enterprises, LLC, which owns all of Daly’s

  intellectual property rights, including three trademarks at issue

  in this action: U.S. Trademark Reg. 2,559,785 (John Daly signature

  and Lion swing design), U.S. Trademark Reg. 3,138,914 (John Daly

  signature), and U.S. Trademark Reg. 3,200,989 (Lion head design).

  They were registered with the United States Patent and Trademark

  Office on April 9, 2002, September 5, 2006, and January 23, 2007,

  respectively.

        The Parties entered into a contract for Daly to act as the

  principal spokesman for Hippo.         See Declaration of David J. Dixon,

  DE 31, Ex. F.    The period of the contract ran from January 1, 2001,

  through December 31, 2003, and guaranteed Daly $50,000 per quarter.

  In return, Daly would make various public appearances and display

  Defendant’s     logo   on   his    clothing   and   equipment   during   golf

  tournaments.      After the endorsement contract ended, Defendant

  displayed Daly’s name and likeness on its website, noting that he

  formerly was affiliated with Hippo Golf.            Daly gave no permission

  for the use of his name and likeness.

        Plaintiffs and Defendant also negotiated a second contract in

  2002 (hereinafter “2002 Letter Agreement”) for the licensing of

  Daly’s name, likeness, and marks to Defendant for use in the sale


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  of golf clubs and related equipment.2       Declaration of John Daly, DE

  21, Ex. A, p. 14-15.        The memorandum of the 2002 Letter Agreement

  itself did not spell out the terms of royalty payments to be made;

  instead, the Parties separately negotiated the rates to be paid

  based on merchandise sold.         The contract period ended on December

  31, 2003, but because Defendant had inventory remaining, Plaintiffs

  gave it until March 31, 2004, to divest itself of all John Daly-

  branded merchandise in its possession.          Between April 1, 2004, and

  January 31, 2005, Defendant continued to sell merchandise and

  equipment bearing John Daly’s signature.              In addition, Defendant

  failed to make all royalty payments due under the 2002 Letter

  Agreement.

         Plaintiffs filed suit to recover for Defendant’s breach of the

  2002       Letter   Agreement,   unauthorized   use    of   Daly’s   name   and

  likeness, and violation of their federal trademark rights.                   In

  addition, Plaintiffs seek to recover from Defendant on a judgment

  they obtained several years ago against Defendant’s parent company,

  Hippo Holdings, Ltd.3        As stated above, the instant Motion only


         2
          These facts, unless otherwise noted, are taken from
  Plaintiffs’ Statement Of Undisputed Facts (DE 22).          Due to
  Defendant’s total failure to comply with the requirements of Local
  Rule 7.5.C, the facts as stated in Plaintiffs’ Statement are deemed
  admitted to the extent supported clearly by the record. S.D. Fla.
  L.R. 7.5.D; Josendis v. Wall to Wall Residence Repairs, Inc., 606
  F. Supp. 2d 1376, 1380-81 (S.D. Fla. Mar. 30, 2009).
         3
          The Parties do not consistently distinguish between
  Defendant and Hippo Holdings, Ltd. when referring to contractual
  negotiations in the past.   Thus, the Court takes their lead in

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  seeks the entry of summary judgment on four of the six counts of

  the Complaint.

                           II. Standard of Review

        Under Federal Rule of Civil Procedure 56, summary judgment is

  appropriate

        if the pleadings, the discovery and disclosure materials
        on file, and any affidavits show that there is no genuine
        issue as to any material fact and that the movant is
        entitled to a judgment as a matter of law.

  Fed. R. Civ. P. 56(c); see also Eberhardt v. Waters, 901 F.2d 1578,

  1580 (11th Cir. 1990).      The party seeking summary judgment “always

  bears the initial responsibility of informing the district court of

  the basis for its motion, and identifying those portions of the

  pleadings, depositions, answers to interrogatories, and admissions

  on file, together with the affidavits, if any, which it believes

  demonstrate the absence of a genuine issue of material fact.”

  Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986)(quotation

  omitted).    Indeed,

        the moving party bears the initial burden to show the
        district court, by reference to materials on file, that
        there are no genuine issues of material fact that should
        be decided at trial. Only when that burden has been met
        does the burden shift to the non-moving party to
        demonstrate that there is indeed a material issue of fact
        that precludes summary judgment.

  Clark v. Coats & Clark, Inc., 929 F.2d 604, 608 (11th Cir. 1991);

  Avirgan v. Hull, 932 F.2d 1572, 1577 (11th Cir. 1991).



  denoting who is a party to what contract.

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        The moving party is entitled to “judgment as a matter of law”

  when the non-moving party fails to make a sufficient showing of an

  essential element of the case to which the non-moving party has the

  burden of proof.         Celotex Corp., 477 U.S. at 322; Everett v.

  Napper, 833 F.2d 1507, 1510 (11th Cir. 1987).                 Further, the

  evidence of the non-movant is to be believed, and all justifiable

  inferences are to be drawn in his favor.                Anderson v. Liberty

  Lobby, Inc., 477 U.S. 242, 255 (1986).

                                    III. Analysis

                                         A.

        Plaintiffs first move for summary judgment as to Count I of

  the Complaint, which alleges infringement of federally registered

  trademarks.     The Complaint sets forth three registrations: U.S.

  Trademark Reg. 2,559,785 (John Daly signature and Lion swing

  design), U.S. Trademark Reg. 3,138,914 (John Daly signature), and

  U.S. Trademark Reg. 3,200,989 (Lion head design).           DE 1, ¶¶ 12-14.

  Plaintiffs complain of Defendant’s supposed infringement during the

  period of April 1, 2004, through January 31, 2005.           The latter two

  marks were registered after this period.            See id. ¶¶ 13 (noting

  registration date of September 5, 2006), 14 (noting registration

  date of January 23, 2007). Therefore, any infringement during this

  period cannot be redressed by relief under § 32 of the Lanham Act.

  See   15   U.S.C.   §   1114(1)    (prohibiting   the   infringement   of   “a

  registered mark”).


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         Thus, only the mark registered under U.S. Trademark Reg.

  2,559,785 (hereinafter “the 385 mark”) is at issue in Count I.                     It

  is reproduced in the Complaint in the following form:




  Defendant admitted to selling merchandise bearing “the John Daly

  Trademarks” after April 1, 2004.             DE 10, ¶ 33.    While it is unclear

  which particular mark was on which particular piece of merchandise

  when   it   was    sold,   Defendant’s       President    and     CEO   David   Dixon

  admitted in deposition testimony that Defendant continued to sell

  golf clubs bearing the John Daly signature after April 1, 2004.                   DE

  21, Ex. D, p. 202.

         Infringement of a federally registered mark does not require

  use of the actual mark or a counterfeit thereof.                    Rather, it may

  include only a “colorable imitation” of the mark.                       15 U.S.C. §

  1114(1)(a).       A mark is a colorable imitation if it “so resembles a

  registered mark as to be likely to cause confusion.”                    Id. § 1127.

  A mark may thus infringe a registered mark without using the

  entirety of the registered mark.               In other words, “[i]t is not

  necessary    that    the   alleged   infringer      use     all    aspects   of   the

  registered mark for likely confusion to result. For example, under


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  the likelihood of confusion test, defendant is an infringer where

  it reproduces the words, but not the background design logo, of the

  plaintiff’s registered composite mark.”                 4 J. Thomas McCarthy,

  McCarthy on Trademarks and Unfair Competition § 23.76 (4th ed.

  2009) (quotation omitted).

        As stated above, the mark registered under U.S. Trademark Reg.

  3,138,914 bears only the John Daly signature and was used on

  Defendant’s    merchandise     after     April    1,    2004.      The   John    Daly

  signature is a portion of the 385 mark.                Compare DE 1, ¶ 13, with

  id. ¶ 12.    The Court finds that use of the John Daly signature on

  merchandise after April 1, 2004, constitutes infringement of the

  385 mark because it is a colorable imitation likely to cause

  confusion.    15 U.S.C. §§ 1127, 1114(1)(a).

        Though liability is established, there is no evidence as to

  Plaintiffs’ damages.          By separate Order, the Court is denying

  Plaintiffs’    Motion   To    File   Documents        Under   Seal   (DE   23)    and

  striking that evidence from the record. Plaintiffs do not point to

  any other item as evidence of their damages under Count I.                   See DE

  21, ¶ 8.     Thus, genuine issues of material fact remain as to the

  question of damages caused by Defendant’s infringement of the 385

  mark.      Therefore,   the    instant       Motion    will   be   granted   as    to

  liability on Count I, with damages to be established at trial.

                                         B.

        Plaintiffs’ second ground for the entry of summary judgment is


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  Count IV of their Complaint, which alleges the unauthorized use of

  Plaintiff John Daly’s name and likeness.                Defendant admits that

  Daly’s name and photograph appeared on its website after the

  endorsement agreement ended, but characterizes it as a fair use.

  It    argues    that   Daly   appears   in   a   list   with   seventeen   other

  professional golfers who, like Daly, were formerly associated with

  Defendant and the website so notes.          DE 30, p. 10.     In other words,

  Daly’s name and likeness is merely a factual statement: He has used

  our clubs.

         Florida law prohibits the display or other public “use for

  purposes of trade or for any commercial or advertising purpose the

  name, portrait, photograph, or other likeness of any natural person

  without the express written or oral consent to such use.”             Fla. St.

  § 540.08(1).

         In an effort to show its fair use, Defendant included a copy

  of the website featuring Daly.           The website displays Daly’s name

  and likeness under the heading “PLAYERS PREVIOUSLY ASSOCIATED WITH

  HIPPO.”        DE 31, Ex. E, p. 2.           It shows a picture of Daly,

  presumably on a golf course, and states the following:

         The twice major winner and golfing superstar, John Daly,
         will continue to be synonomous [sic] with Hippo.
         Renowned as the longest hitter in the professional game,
         Daly truly had the power of Hippo behind his game,
         working closely with the Hippo design teams over the
         years to produce some of the most technologically
         advanced woods to hit the golf market.

  Id.    Defendant argues that its use of Daly as a player previously


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  associated with it is simply a true factual statement.                    The law is

  clear that “[u]se of a name is not harmful simply because it is

  included in a publication sold for profit.”                  Valentine v. C.B.S.,

  Inc., 698 F.2d 430, 433 (11th Cir. 1983).

        However, Daly’s name and likeness are not simply included on

  Defendant’s website.         It is rather a commercial exploitation of

  Daly’s name and likeness to promote Defendant’s golf equipment.

  Informing the public that Daly, the “twice major winner and golfing

  superstar”    that     he   is,   will   continue      to    be   synonymous    with

  Defendant directly promotes Defendant’s products.                     Without his

  consent, that is what Fla. Stat. § 540.08 prohibits.                 Id.; Tyne v.

  Time Warner Entertainment Co., L.P., 901 So. 2d 802, 808 (Fla.

  2005) (noting legislative approval of prior decisions requiring

  “the statute to apply to a use that directly promotes a product or

  service”).    The Court finds that the website uses Daly’s name and

  likeness to directly promote Defendant’s equipment. No consent was

  given for the use of Daly’s name and likeness; thus, Plaintiff is

  entitled to judgment as a matter of law on the question of

  liability as to Count IV.

        On the question of damages for Defendant’s violation of Fla.

  Stat.    §   540.08,    Plaintiffs       offer   the        Declaration    of   John

  Mascatello, Daly’s agent from 2004 through 2006.                          In it, he

  estimates the fair market value of Daly’s name and likeness to be

  at least $300,000 per year and “in some instances” $600,000 per


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   quarter.       DE 21, Ex. C, ¶ 7.              While Mascatello lists Daly’s

   victories in various golf tournaments and his rank on various golf

   rankings, no calculations are put forward to support these figures.

   Defendant points to the endorsement agreement for the period of

   January 1, 2001, to December 31, 2003, between Daly and Hippo

   Holdings, Ltd., Defendant’s parent company, which guaranteed Daly

   at least $50,000 per quarter, which equals $200,000 per year.

   Declaration of David J. Dixon, DE 31, ¶ 14; id. DE 31, Ex. F, ¶ 6.

   While it is understandable that the royalties and endorsement fees

   a   professional       can   command    will    fluctuate   and   may   increase,

   Plaintiffs fail to counter these figures provided by Defendant.

   See DE 40, pp. 7-8.           Thus, the record is unclear and the Court

   cannot determine the value of Daly’s name and likeness as a matter

   of law.        Therefore, the instant Motion will be granted as to

   liability on Count IV, with damages to be established at trial.

                                            C.

         Plaintiffs argue in their third claim for relief that they are

   entitled to judgment as a matter of law on Count V for Defendant’s

   breach    of    contract.      The     2002    Letter   Agreement,   authorizing

   Defendant’s      use    of   Plaintiffs’      trademarks    on   equipment   sold,

   governed the Parties’ obligations regarding the sale of John Daly

   branded merchandise by Defendant.               When that agreement expired,

   Plaintiffs agreed to give Defendant until March 31, 2004, to sell

   off its remaining inventory; Defendant was still required to make


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   royalty payments on these sales.         Plaintiffs claim that Defendant

   never made these payments.

         In its Answer (DE 10), Defendant has admitted the following:

   as of the filing of its Answer, it had ceased making payments under

   the 2002 Letter Agreement; Defendant sold 9,694 John Daly branded

   golf kits between January 1, 2004, and January 31, 2005; Plaintiffs

   were owed $5.00 per kit; Plaintiffs have not received any portion

   of the royalty amount due; Plaintiffs have not received any form of

   payment or consideration in relation to Defendant’s sales during

   the sell-off period of January 1, 2004, through March 31, 2004; and

   Plaintiff John Daly Enterprises, LLC has suffered damages as a

   result of Defendant’s breaches.        DE 10, ¶¶ 87, 90-94, 96.      These

   admissions by Defendant in its Answer are controlling.             Fed. R.

   Civ. P. 8(b)(6) (“An allegation . . . is admitted if a responsive

   pleading is required and the allegation is not denied.”); see also

   United States v. Neal, 255 F.R.D. 638, 640-41 (W.D. Ark. 2008).

   Thus, liability is established as to Count V.

         Regarding the issue of damages, the Declaration of John

   Mascatello states that Defendant and its parent company Hippo

   Holdings,    Ltd.   collectively     owe    Plaintiffs   $125,000.00     in

   royalties.   DE 21, Ex. C, ¶ 8.    Defendant, however, argues that all

   required royalty payments were made, and that Plaintiffs were even

   overpaid by $1,191.      See Declaration of David J. Dixon, DE 31, ¶

   16; id. DE 31, Ex. G.      While Defendant has admitted liability on


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   the   breach   of    contract   claim,   it   obviously   disagrees    with

   Plaintiffs’ calculation of damages.           Plaintiffs do not counter

   these arguments by Defendant.       See generally DE 40 (omitting any

   argument on Count V).      Thus, Plaintiffs have failed to establish

   their damages as a matter of law as to Count V.            Therefore, the

   instant Motion will be granted as to liability on Count V, with

   damages to be established at trial.

                                       D.

         Plaintiffs’ final claim is that Defendant should be held

   accountable under Count VI of the Complaint in the instant action

   for the judgment Plaintiffs obtained against Defendant’s parent

   company in a prior action.      In Case No. 05-61505-CIV-Zloch, DE 47,

   this Court entered its Default Final Judgment Re: Damages in the

   amount of $2,734,842.22 in favor of Plaintiffs and against Hippo

   Holdings, Ltd.      The Parties agree that Hippo Holdings, Ltd. is an

   English company and that Defendant was at all relevant times its

   wholly owned subsidiary. Plaintiffs argue that Defendant should be

   held liable on that judgment because it and Hippo Holdings, Ltd.

   are merely alter egos of one another.

         Florida courts have a very strict test for piercing the

   corporate veil to collect from a shareholder.

         The rule is that the corporate veil will not be pierced,
         either at law or in equity, unless it be shown that the
         corporation was organized or used to mislead creditors or
         to perpetrate a fraud upon them. . . . In the absence of
         pleading and proof that the corporation was organized for
         an illegal purpose or that its members fraudulently used

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         the corporation as a means of evading liability with
         respect to a transaction . . . [a plaintiff] cannot be
         heard to question the corporate existence but must
         confine his efforts to the remedies provided by law for
         satisfying his judgment from the assets of the
         corporation, if any can be found.

   Riley v. Fatt, 47 So. 2d 769, 773 (Fla. 1950), cited in Dania Jai

   Alai Palace, Inc. v. Sykes, 450 So. 2d 1114, 1119-20 (Fla. 1984).

   Under Florida law, mere failure to observe corporate formalities

   alone is not enough.        Rather, Florida courts require “proof of

   deliberate     misuse     of   the     corporate    form——tantamount     to

   fraud——before they will pierce the corporate veil.           Thus, absent

   proof of fraud or ulterior motive by the shareholder, the corporate

   veil shall not be pierced.”      In re Hillsborugh Holdings Corp., 166

   B.R. 461, 469 (Bankr. M.D. Fla. 1994) (citing Conant v. Blunt, 192

   So. 481 (Fla. 1939)) (further citations omitted) (emphasis in

   original). What is controlling is the parent company’s “subjective

   motivation, not the effect of [its] actions” in observing or

   failing to observe corporate formalities.          Id.

         Plaintiffs have not demonstrated that Defendant and Hippo

   Holdings, Ltd. existed as separate corporate entities for an

   improper purpose.       In their Motion they argue, as they must, that

   Defendant mislead Plaintiffs by making Hippo Holdings the nominal

   party to the contract and the holder of debt and other obligations,

   while Defendant enjoyed the revenues.           DE 21, ¶ 44.      For this

   proposition, they cite only paragraphs 38 and 39 of their Statement

   Of Undisputed Facts (DE 22).         Those paragraphs read as follows:

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              38. Defendant sold millions of dollars of John Daly
         trademarked merchandise. . . . . All of the revenues
         from Hippo products sold in North America and South
         America were paid to Defendant. . . . .

              39. Defendant does not know the percentage of the
         debt actually paid from Defendant to Hippo Holdings nor
         is Defendant aware if records still exist to reflect the
         amounts paid.

   DE 22, ¶¶ 38-39.        These paragraphs lend no support for the

   proposition that Defendant and Hippo Holdings operated or failed to

   observe their separate corporate identities for the purpose of

   injuring Plaintiffs.      They say only that Defendant made a lot of

   money in the relevant transactions and that it fails to keep good

   records.   That is not enough.     Dania Jai Alai Palace, 450 So. 2d at

   1119-20; In re Hillsborugh Holdings Corp., 166 B.R. at 469.

                                IV. Conclusion

         Therefore, based on the foregoing analysis, the Court finds

   that Plaintiffs have failed to establish their damages as a matter

   of law as to Counts I, IV, and V, but they have established that

   they are entitled to judgment as a matter of law as to liability

   regarding those Counts.         Moreover, Plaintiffs have failed to

   establish that they are entitled to judgment as a matter of law as

   to Count VI.    Thus, the instant Motion (DE 21) shall be granted in

   part and denied in part.

         Accordingly, after due consideration, it is

         ORDERED AND ADJUDGED that Plaintiffs’ Motion For Partial

   Summary Judgment (DE 21) be and the same is hereby GRANTED in part


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   and DENIED in part, as follows:

         1. To the extent Plaintiffs’ Motion For Partial Summary

   Judgment   (DE   21)   seeks   the   entry   of   summary   judgment   as   to

   liability on Counts I, IV, and V of the Complaint, it be and the

   same is hereby GRANTED;

         2. The Court finds that genuine issues of material fact remain

   on the question of damages as to Counts I, IV, and V, and the

   instant Motion is DENIED as to the same; and

         3. To the extent Plaintiffs’ Motion For Partial Summary

   Judgment (DE 21) seeks the entry of summary judgment as to Count IV

   of the Complaint, it be and the same is hereby DENIED.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward

   County, Florida, this       13th       day of August, 2009.




                                        WILLIAM J. ZLOCH
                                        United States District Judge


   Copies furnished:

   All Counsel of Record




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